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                   EXHIBIT C
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                           COMMITTEE ON WAYS AND MEANS
                                 U.S. HOUSE OF REPRESENTATIVES
                                       WASHINGTON, DC 20515


                                                 June 16, 202 1



The Honorable Janet L. Yellen                                          The Honorable Charles P. Rettig
Secreta1y                                                              Commissioner
U.S. Department of the Treasmy                                         Internal Revenue Service
1500 Pennsylvania A venue, N W                                         1111 Constitution A venue, NW
Washington, D. C. 20220                                                Washington, D.C. 20224

Dear Secretary Yellen and Commissioner Rettig,

       The Committee on Ways and Means ("Committee") has oversight and legislative authority
over our Federal tax laws. 1 Pursuant to this authority, the Committee has a responsibility to
conduct rigorous oversight of the Internal Revenue Service ("IRS") to ensure that our tax laws are
administered in a fair and impartial manner and to inform legislation necessmy for safeguarding
our voluntary tax compliance system.

         In order for our tax system to function, Americm1s must have confidence that no taxpayer
is able to operate above the law. This, of course, extends to the President of the United States,
who is the single most powerful public official in the country. With this in mind, the Committee
continues to seek the tax returns and return information, including audit files, of former President
Donald J. Trump to inform its legislative work. As you know, the Committee previously requested
former President Trump's tax returns and return information, but the previous Administration
refused to comply with the Committee's lawful request. 2 Because this matter remains in active
litigation, and as an accommodation to the Department of the Treasury and the IRS, the Committee
articulates its need for the requested documents below. 3

     I.   The Committee Has Serious Concerns About the IRS's Ability to A udit a President in a
          Fair and Impartial Manner.

        The Committee has been considering legislative proposals and conducting oversight
related to our Federal tax laws, including, but not limited to, the extent to which the IRS audits and
enforces the Federal tax laws against a President. In 1974, it became known publicly that the IRS

 1
  Under Rule X. 1(t) of the United States House of Representatives ( I 17th Cong.), the Committee has been delegated
  broad leg islative, investigative, and overs ight authority over revenue measures generally, which encompasses all
  aspects of our nation's tax laws and the ir adm inistration.
2
  Letter from Hon. Richard E. Neal, Chairman, H. Comm. on Ways and Means to Hon. Charles P. Rettig, Comm' r,
  IRS (Apr. 3, 201 9).
3
  Pursuant to Section 6103(f) of the Internal Revenue Code, the Chairman of the Committee on Ways and Means
  has the authority to request and receive tax returns and return infonnation. Section 6 103(f) does not requ ire the
  Chairman to aiticulate or explain the Comm ittee's legislative purpose for seeking the requested information.
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did not properly examine President Nixon's returns. Shortly thereafter, the IRS implemented a
mandatory audit program for a sitting President's returns "in the interest of sound tax
administration."4 However, since the program was adopted in 1977, the American people have
heard nothing further from the IRS about the specifics of this program, which is merely IRS policy
and is not codified in the Federal tax laws. In truth, we do not know for certain that these audits
are conducted and, if so, whether they are in accordance with this policy and are both thorough
and fair. As is discussed in more detail below, the Committee has serious concerns about the IRS's
full and fair administration of the tax laws with respect to a President and believes legislation may
be needed in this area.

        The Committee has reason to believe that the mandatory audit program is not advancing
the purpose for which it was created, which may require Congress to act through legislation. Under
the Internal Revenue Manual (" IRM"), individual income tax returns of a President are subject to
mandatory examination, but, by the IRS 's own admission, many of the relevant IRM provisions
are outdated and no longer followed. Further, the applicable IRM sections do not account for a
President who, like former President Trump, had ongoing audits, hundreds of business entities,
and inordinately complex returns. Critically, the IRM also does not provide explicit safeguards in
the event a President interferes with or questions the appropriateness of such examination, which
imperils the integrity of the entire process. Considering the enormous power that a President
wields over the IRS, these gaps in the IRM procedures warrant Congress's close attention.

         The IRM grants an IRS revenue agent substantial discretion to shape the course of the
President's audit and to determine, among other things, whether the mandatory audit will include
a rigorous review of open tax years or underlying business income required to be reported on an
individual income tax return. Over the last two years, the IRS has been unable to provide the
Committee assurance that sufficient safeguards exist to shield a revenue agent from undue
influence at the hands of a President trying to secure a favorable audit. Perhaps the most troubling
fact is that, while the revenue agent's identity is largely secret within the IRS, it is known by the
President and the President's representatives, who communicate directly with the agent without
supervision. This raises critical questions as to whether this employee is adequately protected and
able to act objectively and impartially.

        Among the Committee' s goals is ensuring that the tax laws are administered fully and
fairly. Accordingly, the Committee continues to consider and prioritize legislation on equitable
tax administration, including legislation on the President's tax compliance, and public
accountability. The mandatory audit should not be merely a rubber stamp, and the IRS must, at a
minimum, treat a President like any other taxpayer subject to an audit. Importantly, the Committee
also seeks to explore legislation intended to ensure that IRS employees in any way involved in a
President's audit are protected in the course of their work and do not feel intimidated because of
the taxpayer's identity. Indeed, the purpose underlying inclusion of the mandatory audit in the


4
    Bill Curry, "Yearly Audits Set for Carter, Mondale," Wash. Post (June 2 1, I977),
    https://www.washington post.com/arch ive/pol itics/ I977/06/2 I/yearly-midi ts-set-fo r-carter-111ondale/aacl4 7cd9-
    7906-4cb2-9272-930722027cl2a/.
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IRM was so that no IRS employee would have to make the decision to audit a sitting President. 5
However, there is more to an audit than just the decision to initiate it.

        Under the Rules of the House of Representatives, the Committee's authority to legislate on
tax administration is indisputable. Should the Committee find that the mandatory audit program
is inadequate, it is within our jurisdiction to consider and enact legislation to address these findings.
To the same extent, if the Committee determines that adequate safeguards do not exist to prevent
improper influence by a President, we can and will propose legislation to provide the appropriate
guardrails.

    II.   The Committee is Entitled to Request and Receive Tax Return Information Necessary
          to Inform Legislation on the Mandatory Audit Program.

       Understandably, the Committee cannot properly evaluate the effectiveness or fairness of
the mandatory audit program, in practice, without relevant information. And, unless the
Committee can assess the sufficiency of current procedures, we cannot legislate responsibly on
this matter or address the real potential for abuse of power. If it is, in fact, the case that Presidents
can improperly steer the course of their own audits either through their actions or public
declarations, the Committee must implement a legislative solution. But, the IRS must first provide
us with the necessary information.

        Tax returns and return information, including audit files, are integral to the Committee's
inquiry into the mandatory audit program. At its core, what the Committee seeks to understand is
how the IRM provisions have been applied in practice and whether IRS agents have been able to
act objectively in the past. Specifically, the Committee requires information about an actual audit
and an actual taxpayer. This will help the Committee determine, among other things: (i) whether
IRS agents have been able to operate free from improper interference by a President or his
representatives; (ii) whether agents have looked at ongoing audits that predate a President's term
in office; (iii) whether agents have reviewed underlying business activities, especially activities
involving many interrelated entities and income from and deductions related to foreign sources;
(iv) whether agents have had access to the necessary books and records to substantiate amounts on
the tax return; (v) whether there have been any examination findings or adjustments and how a
President has responded to such findings or adjustments; and (vi) whether agents have had access
to the necessary resources to undertake an exhaustive review of a complex taxpayer on an annual
basis. Information that would shed light on these issues is, necessarily, protected under Section
6103(a) of the Internal Revenue Code ("Code") and subject to disclosure to a covered committee
pursuant to Section 6103(f).

       In particular, the Committee seeks information about a President who implicates many of
our wide-ranging concerns about the mandatory audit program and equitable tax administration,
as well as other matters of concern that, unquestionably, lie within Congress's competence to

5
     Id. At the time, the IRS explained that this decis ion "automatically re lieves any particular IRS employee" of having
     to make the decision to audit a President. See also JCX-3-19, Background Regarding the Confidentiality and
     Disclosure ofFederal Tax Returns (Feb. 4, 2019), at 21 (quoting IRS spokesperson).
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explore. As is described in more detail below, former President Trump is the sole President the
Committee is aware of who controlled hundreds of business entities while in office and who
routinely criticized the IRS for auditing him. His returns, reportedly, have been under continuous
audit since before his Presidency and raise serious questions of tax policy, administration, and
compliance. For these reasons, his tax returns and return information are not only instructive-
but indispensable- to the Committee' s inquiry into the mandatory audit program. Further, former
President Trump's tax returns could reveal hidden business entanglements raising tax law and
other issues, including conflicts of interest, affecting proper execution of the former President's
responsibilities. An independent examination might also show foreign financial influences on
former President Trump that could inform relevant congressional legislation.

        As Chairman of the Committee, I am authorized by Section 6103(£) of the Code to request
and receive tax returns and return information, including that of a current or former President.
Indeed, there exists direct precedent for exactly this type of inquiry. In 1973, President Nixon' s
tax compliance became a matter of public concern when journalists and tax lawyers questioned
the appropriateness of a large deduction he had taken on his 1969 tax return. In response, President
Nixon generally denied any impropriety and released a note from the IRS stating that his returns
were accepted as filed and complimenting him for the care taken in preparing his returns. Between
1973 and 1974, the Joint Committee on Internal Revenue Taxation ("Joint Committee") requested
and received copies from the IRS of President Nixon's returns for multiple tax years, including
years that predated his Presidency. Ultimately, the Joint Committee found numerous deficiencies
in the IRS 's auditing of President Nixon's returns and concluded that President Nixon had an
unpaid tax liability of more than $400,000. In the wake of the Joint Committee's findings, the IRS
implemented the mandatory audit program in 1977, demonstrating precisely how a congressional
committee's investigation served as a highly valuable oversight tool for the IRS's review of a
President's returns.

     III. Former President Trump is a Unique Taxpayer in the Mandatory Audit Program.

        Among Presidents, Donald J. Trump is a unique taxpayer. Unlike his predecessors, he
controlled hundreds of businesses throughout his term, raising concerns about financial conflicts
of interest that might have affected the administration of laws, including the tax laws. Former
President Trump also represented that he had been under continuous audit by the IRS prior to and
during his Presidency, reportedly received a $73 million refund that was under investigation when
he took office, and routinely complained in public statements about alleged w1fair treatment by the
IRS. The Committee's concerns about the mandatory audit program have been particularly
heightened with respect to him for these reasons, which are discussed in more detail below.

       First, former President Trump's tax attorneys have described his returns as "inordinately
large and complex."6 Through a revocable trust, former President Trump controlled more than
500 individual business entities that comprise the Trump Organization. The large, complex, and

 6
     Letter from Sheri A. Dillon and William F. Nelson to Mr. Donald J. Trump, Re: Status of US f ederal income tax
     returns (Mar. 7, 20 16), available at http://static.politico.co m/bf/ cd/d2 l 0b336496e839c Ifc7a517407c/ letter-from-
     donald-trnm ps-lax-attorneys-on-trump-aucl its .pdf (hereinafter " Morgan Lewis Letter").
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far-reaching web of his business empire likely was reported on his individual income tax return,
but it is unclear whether any audits (mandatory or otherwise) included a review and substantiation
of his underlying domestic and foreign business activities. On their face, the IRM provisions on
the mandatory audit program do not account for such substantial business activities. This is
especially concerning to the Committee, as news reports indicate that the former President used
his businesses to take aggressive tax positions to minimize his tax liability. 7 Indeed, in 2019, he
referred to the practice of showing real estate "losses for tax purposes" as "sport." 8

        Second, the former President stated repeatedly that his returns were under routine audit. In
2016, his tax attorneys reported that his returns had been under continuous examination since
2002. 9 Further, last fall, the New York Times reported that former President Trump has been
engaged in a decade-long audit battle with the IRS over a $73 million tax refund that he received. 10
According to the New York Times, that amount represents all the Federal income tax that he paid
for 2005 through 2007, plus almost $3 million in interest. The New York Times noted that, if the
former President were required to repay the entire refund, it could cost him more than $100 million
with interest. In no uncertain terms, the continuous audit of his returns, the colossal size of the
refund in question, and the use by the former President of a grantor trust controlling hundreds of
businesses make him markedly different from other Presidents examined under the IRM's
mandatory audit procedures. Understanding how the IRS handled these issues is crucial to the
Committee's inquiry into whether the mandatory audit program requires legislative action.

       Third, statements by former President Trump and his surrogates raise serious questions
about an IRS agent's ability to freely enforce the tax laws against him while he was President.
Former President Trump's disdain for IRS audits is widely known. As a Presidential candidate,
he expressed his belief that it was "very unfair" that he was "always audited," and claimed that he
was audited "when [he] shouldn't be audited." 11 Alarmingly, once he became President, this
sentiment was explicitly extended to the automatic, mandatory audit described in the IRM. In
2018, the White House Press Secretary explained, "The President and First Lady filed their taxes
on time and as always they are automatically under audit, which the President thinks is extremely

 7
   For example, according to the New York Times, former President Trump regularly reported massive and
   questionable deductions, such as a deduction for consulting fees paid to a family member and employee of the
   Trump Organization, a business expense deduction for a private family residence, and charitable deductions for
   conservation easements at his properties. Russ Buettner, Susanne Craig, and Mike McIntire, "Long-Concealed
   Records Show Trump's Chronic Losses and Years of Tax Avoidance," N .Y. Times (Sept. 27, 2020),
   https://www.nytimes.com/ interactive/20? 0/09/27/us/clona ld-tn1111 p-taxes. htm I?action=c l ick&m oclu le=Spotl ight
   &pgtvpe= Homepage.
8
   Reuters Staff, " Trump blasts report on his business losses, calls accounting a 'sport,"' Reuters (May 8, 2019),
   !JJ.tP-s ://www. reu ters. com/a rt ic Ie/ us-u sa-tru 111 p-tax es-sport/tru 111 p-b Iasts- report-on-h is-bus iness-1 osses-ca 11s-
   accou n tin g-a-sport- id US KCN I SEI K.5.
9
   See supra note 6, Morgan Lewis Letter.
10 See supra note 7, " Long-Concealed Records Show Trump's Chronic Losses and Years of Tax Avoidance." See
   also Taxpayer Fairness: Hearing Before the Subcomm. on Oversight of the H. Comm. on Ways and Means, I 16th
   Cong. (Oct. 13, 2020).
11 Jenna Johnson, "Donald Trump says IRS audits could be tied to being a 'strong Christian," Wash. Post (Feb. 26,
   2016), https://www.washi ngtonpost.com/news/post-pol itics/wp/201 6/02/26/ donald-trum p-says-irs-audits-cou Id-
   be-tied-to-bein g-a-stron g-christi an/.
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unfair." 12 Following the New York Times report last fall, former President Trump-speaking
from the podium in the White House Briefing Room-directly attacked the IRS and its employees,
stating "They treat me very badly. You have people in the IRS , they treat me very, very badly." 13

        Knowing only what has been reported publicly, there is ample reason to question whether
the mandatory audit program has functioned as intended when the taxpayer' s history is as complex
as former President Trump's. Simply put, it does not appear that the IRM provisions concerning
the mandatory Presidential audit are sufficiently robust for a President who: (i) has "inordinately
large and complex" returns; (ii) controls hundreds of business entities, some of which receive
income from foreign sources; (iii) raises issues of financial conflicts of interest; (iv) takes
aggressive tax positions to minimize his liability; (v) is under continuous audit by the IRS; (vi) has
a $73 million refund under review; and (vii) openly attacks the IRS and the very IRS employees
conducting the mandatory audit. To be sure that the mandatory audit program will work for all
future President-taxpayers (including those with similarly complex taxes), we must see how the
program fared under the exceedingly challenging circumstances presented by former President
Trump. Further, it would be instructive for the Committee's legislative purposes to understand
what happens to the mandatory audit if it is not closed before a President leaves office.

        Without seeing the relevant returns and return information, it is impossible to properly
assess whether the scope of a mandatory audit was complete, objective, and fair and to legislate
accordingly. Therefore, as Chairman of the Committee and pursuant to the authority provided by
Section 6103(£) of the Code, I request the following tax returns and return information for each of
the tax years 2015 through 2020:

        1. The Federal individual income tax returns of Donald J. Trump.

        2. For each Federal individual income tax return requested above, a statement specifying:
           (a) whether such return is or was ever under any type of examination or audit; (b) the
           length of such examination or audit; (c) the applicable statute of limitations on such
           examination or audit; (d) the issue(s) under examination or audit; (e) the reason(s) the
           return was selected for examination or audit; and (f) the present status of such
           examination or audit (to include the date and description of the most recent return or
           return information activity).

        3. All administrative files (workpapers, affidavits, etc.) for each Federal individual
           income tax return requested above.

        4. The Federal income tax returns of the following entities:

                •    The Donald J. Trump Revocable Trust;

 12
    Arden Farhi, Trump Files 2017 Taxes Following 6-month Extension, CBS News (Oct. 17, 20 18),
    httos://www .cbsnews.com/news/trurnp-fil es-201 7-taxes- fo Ilowing-6-month-extensio n/.
 13
    "Trump Calls Years of Tax Avoidance 'Fake News,' Attacks I.R.S.," N.Y. Times (Sept. 27, 2020),
    https://www.nytimes.com/vi deo/ us/po Ii tics/ I 000000073 64069/trum p-taxes. htm I.
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                   •   DJT Holdings LLC;
                   •   DJT Holdings Managing Member LLC;
                   •   DTTM Operations LLC;
                   •   DTTM Operations Managing Member Corp;
                   •   LFB Acquisition Member Corp;
                   •   LFB Acquisition LLC; and
                   •   Lamington Farm Club, LLC d/b/a Trump National Golf Club- Bedminster.

           5. For each Federal income tax return of each entity listed above, a statement specifying:
              (a) whether such return is or was ever under any type of examination or audit; (b) the
              length of such examination or audit; (c) the applicable statute of limitations on such
              examination or audit; (d) the issue(s) under examination or audit; (e) the reason(s) the
              return was selected for examination or audit; and (f) the present status of such
              examination or audit (to include the date and description of the most recent return or
              return information activity).

           6. All administrative files (workpapers, affidavits, etc.) for each Federal income tax return
              of each entity listed above.

           7. If no return was filed for the tax year requested, a statement that the entity or individual
              did not file a return for such tax year.

                                                *       *        *

        There have been claims that the true and sole purpose of the Committee's inquiry here is
to expose former President Trump's tax returns. These claims are wrong. I echo the words of the
Supreme Court: "A legislative body cannot legislate wisely or effectively in the absence of
information respecting the conditions which the legislation is intended to affect or change; and
where the legislative body does not itself possess the requisite information- which not
infrequently is true-recourse must be had to others who do possess it." 14 We have a duty to our
constituents to eliminate unfairness where we see it, and we have an obligation to do so by
legislating in an informed and responsible manner. The Committee will not shy away from its
constitutional duty to serve the American people, not in this instance, not ever.

                                                    Sincerely,




                                                         norable Richard E. Neal, Chairman
                                                    Committee on Ways and Means

 14
      McGrain v. Daugherty, 273 U.S. 135, 175 (1927).
